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AO 440 (Rcv. 06¢'12) Sumrnons in a Civil Action (Page 2)

 

Civii Action No. 17~1508

PR.OOF UF SERVICE
('Tkis section should not be_Med with the court unless required by Fed. R. Civ. P. 41( ))

This summons for (mzme effedz'v:'duol and rifle iftmv) __D]S ]£`£ r- C‘)m lm,.,
was received by me on (¢.-ieie) ] Q_ di 11 t |O _S_Q\M

IJ l personally served the summons on the individual at (plaee)

 

fm ldf¥l‘€-') § 01‘

 

 

l:l I left the summons et the individual’s residence cr usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (da:s) ,and mailed a copy to the individual’s last known address; or

W)I SEI'VE;Ci the S`|.lml'l'lDIlS 011 (ndm€ afindiv:'dual:i RH\] mi di hp ll !%f:) ira &k | , Wh() lS
designated by law to accept service of process on behalif of theme oferganizar£on) §Ol@l ` g £: QQ m 5
l nw on (da:e) _[_ Ql}_q_j_&@|;l_ , or

El Ireturned the summons unexecuted because l ; or

 

 

ij Ol;hel" (speel_i}§)):

My fees are $ for travel and $ for services, for a total of 5 g_g[}

I declare under penalty of perjury that this information is true.

sale ;LF_Z)_\lll__lM:) ` MJ'\%`/_éw/% /é¢sreac£.

_-»_Re _ . ev
leo russell ”§"i’*s'lj‘lr§”'lde
Springfie|d MA 01103
F-MS 734-902‘1

 

 

 

l Servier?'i's address v
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Additional information regarding attempted service, ete:

